 

Case 1:22-cv-04629-LGS-SLC Document 69 Filed 07/19/23 Page 1 of 1

 

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Match Group, LLC,

 

 

(List the full name(s) of the plaintiff(s)/petitioner(s).) 4:22- CV -4629 ( LGS )(§LC)

-against-
NOTICE OF APPEAL

Beazley Underwriting Limited,

 

 

(List the full name(s) of the defendant(s)/respondent(s).)

Notice is hereby given that the following parties: _5¢@2/ey Underwriting Limited

 

 

(list the names of all parties who are filing an appeal)

in the above-named case appeal to the United States Court of Appeals for the Second Circuit

fromthe judgment Olorder enteredon: une 22, 2023

(date that judgment or order was entered on docket)

 

that

was entered in favor of plaintiff Match Group, LLC upon its breach of contract claim.

 

 

(If the appeal is from an order, provide a brief description above of the decision in the order.)

2/14/23 lots Bey
Dated f perature AL

Zelig, Jonathan, S., Day Pitney LLP
Name (Last, First, Ml)

 

 

 

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Telephone Number E-mail Address (if available)

 

“Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone

number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.

Rev. 12/23/13
